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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                 *
THE UNITED STATES OF AMERICA                                Crim. No.      GJH-14-0083
                                                 *
       v.                                                   Civil No.
                                                 *

ANTONIO LAMAR COOPER                             *

                                           * * * * *

                              SUPPLEMENTAL AUTHORITY

       Petitioner, through undersigned counsel, supplements his pending petition under 28 U.S.C.

§ 2255 with the following precedent, which reinforces that his conviction[s] under 18 U.S.C. §

924(c) are now void.

       In Sessions v. Dimaya, __ U.S. __, 138 S. Ct. 1204 (2018), the Supreme Court held that

the residual clause defining a “crime of violence” under 18 U.S.C. § 16(b) is void for vagueness

in violation of due process. Because the residual clause defining “crime of violence” under 18

U.S.C. § 924(c)(3)(B) is identical to § 16(b) and operates in precisely the same way (with the same

categorical approach and ordinary case inquiry) that applies to § 16(b), § 924(c)(3)(B) is also

unconstitutionally void. Indeed, relying on Dimaya, the Fourth Circuit held exactly as such in

United States v. Simms, 914 F.3d 229 (4th Cir. 2019). Three other circuits have also reached the

same conclusion post-Dimaya. See United States v. Davis, 903 F.3d 483, 495-86 (5th Cir. 2018)

(per curiam), cert. granted, __ U.S.__, __ S. Ct. __, 2019 WL 98544 (U.S. Jan. 4, 2019) (No. 18-

431); United States v. Eshetu, 898 F.3d 36, 37 (D.C. Cir. 2018) (per curiam); United States v.

Salas, 889 F.3d 681, 684, 684-86 (10th Cir. 2018). This Court must do the same.
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       However, to be clear, the Supreme Court will give the last word on whether the § 924(c)

residual clause is unconstitutionally void in Davis, Case No. 18-431. This decision is expected by

the end of the Supreme Court term in June. As a result, undersigned counsel has no opposition to

Petitioner’s § 2255 petition being stayed until then. The government has also represented to

undersigned counsel that it agrees with such stay.



                                     Respectfully submitted,

                                     JAMES WYDA
                                     Federal Public Defender



                                     ______/s/____________________
                                     PARESH S. PATEL
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of April 2019, a copy of the foregoing motion

was delivered via electronic filing to David I. Salem, Esq. Assistant United States Attorney, Office

of the United States Attorney, Baltimore, Maryland, 21201.



                                      _____________/s/_______________________
                                      PARESH S. PATEL
                                      Assistant Federal Public Defender
